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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 KATHY CALVERT                               )   Case No.
                                             )
 and                                         )   Judge
                                             )
 PAMELA COLE,                                )
                                             )
                         Plaintiffs,         )
                                             )
 v.                                          )   COMPLAINT WITH JURY DEMAND
                                             )
 LINDFIELD EQUIPMENT, LLC                    )
                                             )
 and                                         )
                                             )
 T&T ENTERPRISES OF OHIO,                    )
 INC.,                                       )
                                             )
 and                                         )
                                             )
 ERIC TRAUTMAN, JR.,                         )
                                             )
                         Defendants.         )
                                             )
                                             )


         Now come Plaintiffs, by and through counsel, and for their Complaint against Defendants

allege as follows:

      1. Plaintiff Kathy Calvert (“Calvert”) was employed by Defendant Lindfield

Equipment, LLC (“Lindfield”) and Defendant T&T Enterprises of Ohio, Inc. (“T&T”) for

approximately six years. She was laid off at the beginning of 2017.

      2. Plaintiff Pamela Cole (“Cole”) was employed by Lindfield and T&T from January 2008

until the end of 2016.

      3. Lindfield and T&T are related companies, operated out of the same location, and were
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controlled by the same individuals.

    4. Defendant Eric Trautman, Jr. (“Trautman”) had and exercised operational control over the

payroll policies, practices, and procedures of Lindfield and T&T.

    5. Plaintiffs were not exempt from the overtime requirements of the Fair Labor Standards Act

and Ohio Minimum Fair Wage Standards Act. Defendants were required to pay them 1.5 times

their regular rates of pay for each week they worked in excess of 40 hours.

    6. Defendants never paid Plaintiffs time-and-a-half at any time during their employment.

    7. On March 13, 2017, Plaintiffs sent a letter, through their counsel, to Lindfield and

Trautman, requesting copies of all time records reflecting the hours worked by each Plaintiff

during the years 2014-2016.

    8. Pursuant to Article II, Section 34a, of the Ohio Constitution, Defendants were

required to produce the requested records to Plaintiffs’ counsel within 30 days of the request.

    9. Defendants have never produced any of the records Plaintiffs requested.

.                              FIRST CAUSE OF ACTION

    10. Plaintiffs re-aver the previous allegations, as if fully rewritten herein, and further allege

that Defendants, as hereinabove described, violated the Fair Labor Standards Act and Ohio’s

Minimum Fair Wage Standards Act by failing to pay Plaintiffs 1.5 times their regular rate of pay

for the hours they worked in excess of 40 per week.

    11. As a result of the aforesaid violations, Plaintiffs have suffered damages in the form of

unpaid overtime compensation.

                                 .SECOND CAUSE OF ACTION

    12. Plaintiffs re-aver the previous allegations and further allege that Defendants violated the




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Ohio Constitution by failing to comply with Plaintiffs’ lawful request for the records reflecting the

hours they worked.

   13. Plaintiffs have suffered damages as a result of Defendants’ violation, in the form of

additional attorney’s fees, and the delay in the recovery of the unpaid overtime compensation owed

to them.

   WHEREFORE, Plaintiffs pray for judgment against Defendants, jointly and severally, as

follows:

   1. For all unpaid overtimes wages Plaintiffs earned but have not been paid;

   2. For liquidated damages in an amount equal to their unpaid overtime compensation;

   3. For an Order requiring production of all time and payroll records Plaintiffs requested in

       March 2017;

   4. For their reasonable attorney’s fees incurred in the pursuit of their unpaid overtime

       compensation and time and payroll records;

   5. Interest according to law;

   6. The costs of this action; and

   7. All other and further relief to which they may be entitled

                                              /s/ Stephen E. Imm

                                              _____________________________________
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                                              Kathy Calvert and Pamela Cole




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                                  JURY DEMAND

 Plaintiffs hereby demand a jury trial on all their claims.

                                        /s/ Stephen E. Imm

                                        _____________________________________
                                        Stephen E. Imm (0040068)




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